Case 1:20-cv-00588-GBD Document 43

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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VALENTIN MOKROV; EVGENE STAROV; :
STANISLAVA GLEYZERMAN; INNA ,
LITVINEKO, :
Plaintiffs, :
-against- :
AEROFLOT; VILEN KHILCHENKO, :
Defendants. ;

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GEORGE B. DANIELS, District Judge:

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ORDER

20 Civ. 588 (GBD)

The initial conference scheduled for November 12, 2020 at 9:30 am is hereby cancelled. An

oral argument on Defendants’ Motion to Dismiss, (ECF 36), is scheduled for February 18, 2021 at

10:30 am.

Dated: November 5, 2020
New York, New York

SO ORDERED.

 

RGF. DANIELS
ITED STATES DISTRICT JUDGE

 
